Case 1:21-cv-21312-BB Document 4 Entered on FLSD Docket 04/12/2021 Page 1 of 13




                       UNITED STATES DISTRICT COURT FOR THE
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION


  ADMIRAL INSURANCE COMPANY
                                                          CASE No.: 1:21-CV-21312-BB
                        Plaintiff,

  v.                                                       AMENDED COMPLAINT FOR
                                                            DECLARATORY RELIEF
  VPRART, LLC, Erin Gilbert and Patrick
  Gilbert, Individually and as Natural Parents
  and Guardians of their Minor Children, F.G.,
  H.G., and P.G.,

                        Defendants.




         Plaintiff Admiral Insurance Company (“Admiral”) brings this lawsuit for a declaratory

 judgment against Defendants VPRART, LLC (“VPRART”); Erin Gilbert and Patrick Gilbert,

 Individually and as Natural Parents and Guardians of their Minor Children, F.G., H.G., and P.G.

 (collectively, the “Gilberts”), and states and alleges as follows:

                                     NATURE OF THE ACTION

         1.      Pursuant to 28 U.S.C. § 2201, this lawsuit seeks a determination of the parties’

 rights and obligations under a Commercial Lines Insurance Policy that Admiral issued to

 VPRART, in connection with a lawsuit that the Gilberts have filed against VPRART.

                                           THE PARTIES

         2.      At all times material to this action, Admiral is and was a Delaware corporation with

 its principal place of business in Arizona, and is and was licensed to conduct business in this

 jurisdiction.




                                                                                  1032448\307898237.v3
Case 1:21-cv-21312-BB Document 4 Entered on FLSD Docket 04/12/2021 Page 2 of 13




        3.      A corporation is a citizen of any state in which it is incorporated and of the state

 where its principal place of business is located. See Werner v. Busch Entertainment Corp., 2006

 WL 2644920, 1 (M.D. Fla. 2006) (citing MacGinnitie v. Hobbs Group LLC, 420 F.3d 1234, 1239

 (11th Cir. 2005)). Accordingly, at all times material to this action, Admiral is and was a citizen of

 Delaware and Arizona.

        4.      At all times material to this action, VPRART is and was a Florida limited liability

 company organized and existing under the laws of the state of Florida, with its principal place of

 business in Miami, Florida. For purposes of diversity jurisdiction, a limited liability company is a

 citizen of every state in which any of its members is a citizen. Rolling Greens MHP, L.P. v.

 Comcast SCH Holdings, LLC, 374 F.3d 1020, 1022 (11th Cir. 2004).

        5.      At all times material to this action, VPRART has and had one member, Kevin

 Tollado, who is and was the managing member, and is and was domiciled in the state of Florida.

        6.      “Citizenship is equivalent to domicile for purposes of diversity jurisdiction.” See

 Simpson v. Fender, 445 F. Appx. 268, 270 (11th Cir. 2011) (citing McCormick v. Aderholt, 293

 F.3d 1254, 1257 (11th Cir. 2002)). A natural person’s citizenship is determined by his “domicile,”

 or “the place of his true, fixed, and permanent home and principal establishment… to which he

 has the intentions of returning whenever he is absent therefrom.” McCormick, 293 F.3d at 1257-

 58.

        7.      Accordingly, at all times material to this action, VPRART’s sole member, Kevin

 Tollado, is and was a permanent resident of the state of Florida and is and was domiciled and a

 citizen of the State of Florida. Simpson v. Fender, 445 F. Appx. 268, 270 (11th Cir. 2011).

        8.      As such, at all times material to this action, VPRART is and was a citizen of the

 State of Florida.



                                                  2
                                                                                   1032448\307898237.v3
Case 1:21-cv-21312-BB Document 4 Entered on FLSD Docket 04/12/2021 Page 3 of 13




         9.         At all times material to this action, Erin Gilbert, Individually and as Natural Parent

 and Guardian of her minor children, F.G., H.G., and P.G., is and was, a U.S. citizen and permanent

 resident of St. Croix, U.S. Virgin Islands. Accordingly, Erin Gilbert, Individually and as Natural

 Parent and Guardian of her minor children, F.G., H.G., and P.G., at all times material to this action,

 is and was, domiciled and a citizen of the U.S. Virgin Islands. See id.

         10.        At all times material to this action, Patrick Gilbert, Individually and as Natural

 Parent and Guardian of his minor children, F.G., H.G., and P.G., is the husband of Erin and is and

 was, a U.S. citizen and permanent resident of St. Croix, U.S. Virgin Islands. Accordingly, Patrick

 Gilbert, Individually and as Natural Parent and Guardian of his minor children, F.G., H.G., and

 P.G., at all times material to this action, is and was domiciled and a citizen of the U.S. Virgin

 Islands. See id.

         11.        The Gilberts are proper parties because their rights, if any, may be affected by this

 Court’s declaration, and thus have been named in this action so they will be bound by the Court’s

 ultimate decrees.

         12.        Consequently, complete diversity exists between Plaintiff and Defendants. At all

 times material to this action, Plaintiff is and was a citizen of Delaware and Arizona, while

 Defendants are and were are citizens of the State of Florida and the U.S. Virgin Islands. Therefore,

 this Court has original jurisdiction of this action under the provisions of 28 U.S.C. § 1332.

                                     JURISDICTION AND VENUE

         13.        This court has jurisdiction under 28 U.S.C. § 1332(a). The amount in controversy

 exceeds $75,000, exclusive of interest and costs, and there is complete diversity of citizenship

 between the parties. The amount in controversy in this matter includes the $100,000 in insurance

 coverage that is being sought with respect to the underlying lawsuit the Gilberts commenced



                                                      3
                                                                                       1032448\307898237.v3
Case 1:21-cv-21312-BB Document 4 Entered on FLSD Docket 04/12/2021 Page 4 of 13




 against VPRART. (See December 23, 2020 letter from counsel for Gilberts to counsel for

 VPRART, seeking assignment of VPRART’s rights against Admiral, at 2, 5 (attached hereto and

 incorporated by reference as Exhibit D)). The insurance coverage sought is for significant past,

 present, and future bodily injury to Erin Gilbert, including double amputation, due to the alleged

 negligence of VPRART. (See Exhibit B, ¶¶ 40-55). Accordingly, the amount in controversy

 exceeds $75,000. See, e.g., Roe v. Michelin N. Am., Inc., 613 F.3d 1058, 1062 (11th Cir. 2010).

         14.     Venue in this district is proper under 28 U.S.C. § 1391 because, among other things,

 a substantial part of the risk insured under the contract is situated in this district, Defendant

 VPRART resides in this district and division, and the insurance policy was issued in this district

 and division.

         15.     All conditions precedent to filing this action have occurred or have been complied

 with.

                                   FACTUAL ALLEGATIONS

                                   VPRART’s Insurance Policy

         16.     Admiral issued to VPRART a Commercial Lines Insurance Policy bearing number

 xxx628-01, and in effect from November 12, 2019 through November 12, 2020 (the “Policy,”

 attached hereto and incorporated by reference as Exhibit A).

         17.     The Policy provides “Claims-Made” Commercial General Liability Coverage, up

 to a $1,000,000 Each Occurrence Limit of Insurance, subject to a $5,000 deductible.

         18.     The Commercial General Liability Coverage Form in the Policy states at the

 beginning of the form that “COVERAGES A AND B PROVIDE CLAIMS-MADE

 COVERAGE. PLEASE READ THE ENTIRE FORM CAREFULLY.” (Ex. A, p. 37).




                                                  4
                                                                                  1032448\307898237.v3
Case 1:21-cv-21312-BB Document 4 Entered on FLSD Docket 04/12/2021 Page 5 of 13




         19.      Subject to various terms and conditions in the Policy, the Insuring Agreement for

 Coverage A provides that Admiral “will pay those sums that the insured becomes legally obligated

 to pay as damages because of ‘bodily injury’ . . . to which this insurance applies. . . . However,

 [Admiral] will have no duty to defend the insured against any ‘suit’ seeking damages for ‘bodily

 injury’ . . . to which this insurance does not apply.” (Id., § I.A.1.a.).

         20.      The Policy states that “[t]his insurance applies to ‘bodily injury’ . . . only if: (2) The

 ‘bodily injury’ . . . did not occur before the Retroactive Date, if any, shown in the Declarations or

 after the end of the policy period.” (Id., § I.A.1.b.(2)).

         21.      The “Pre-Existing Damage Exclusion” further precludes coverage for bodily injury

 that began before the policy period or retroactive date and continued thereafter:

         This insurance does not apply to:

               1. Any damages arising out of or related to “bodily injury” or “property
                  damage”, whether such “bodily injury” or “property damage” is known or
                  unknown,

                  (a) which first occurred prior to the inception date of this policy (or the
                      retroactive date of this policy, if any; whichever is earlier); or

                  (b) which are, or are alleged to be, in the process of occurring as of the
                      inception date of the policy (or the retroactive date of this policy, if any;
                      whichever is earlier) even if the “occurrence” continues during this
                      policy period.

 (Ex. A, p. 76 (Special Exclusions – Joint Form Endorsement).

         22.      Per endorsement to the Policy, “bodily injury” “means physical injury, physical

 sickness or physical disease sustained by any one person.” (Id., p. 70).

         23.      The Policy’s “Retroactive Date” is November 12, 2019. (Id., p. 5 (Commercial

 General Liability Coverage Part Declarations)).




                                                      5
                                                                                        1032448\307898237.v3
Case 1:21-cv-21312-BB Document 4 Entered on FLSD Docket 04/12/2021 Page 6 of 13




         24.        The Policy also includes a “Health, Nutrition & Lifestyle Exclusions and Coverages

 Endorsement” (the “HNL Coverage Endorsement”) which modifies the insurance provided under

 the Commercial General Liability Coverage Form.

         25.        The HNL Coverage Endorsement provides a $100,000 Each Claim Limit –

 Including Claims Expenses, subject to a $2,500 deductible.               (Id., p. 12 (HNL Coverage

 Endorsement Additional Declarations Schedule)).

         26.        The HNL Coverage Endorsement states that “THIS IS A CLAIMS-MADE

 COVERAGE. PLEASE READ THIS POLICY AND THIS COVERAGE CAREFULLY.” (Id).

         27.        The HNL Coverage Endorsement incorporates a Professional Liability Insuring

 Agreement into the Policy, as follows:

         Except to the extent coverage is afforded under COVERAGE D – PROFESSIONAL
         LIABILITY below, this insurance does not apply to “bodily injury” . . . or damages of any
         kind, including costs or expenses, actually or allegedly arising out of, related to, caused by,
         contributed to by, or in any way connected with past, present or future claims or “suits”
         arising in whole or in part, either directly or indirectly, out of the rendering of or the failure
         to render any professional service by or on behalf of any insured.

         COVERAGE D – PROFESSIONAL LIABILITY

         COVERAGE D – I. INSURING AGREEMENTS

         A.         We will pay on behalf of the Named Insured those amounts which the Named
                    Insured is legally obligated to pay as damages caused by a professional incident
                    taking place within the “coverage territory” and occurring in its entirety after the
                    Retroactive Date shown in the ADDITIONAL DECLARATIONS SCHEDULE
                    above and before the end of the policy period, for which a claim is first made
                    against the Named Insured during the policy period or any extended reporting
                    period we provide.

 (Id., § D.I.A.).

         28.        The Retroactive Date shown in the Additional Declarations Schedule is November

 12, 2019. (Id.).




                                                     6
                                                                                       1032448\307898237.v3
Case 1:21-cv-21312-BB Document 4 Entered on FLSD Docket 04/12/2021 Page 7 of 13




         29.        Coverage D in the HNL Coverage Endorsement provides that Admiral has “no

 obligation or duty under this coverage to defend any claim for which coverage is excluded

 hereunder or not otherwise afforded by this coverage and we are not obligated hereunder to pay

 any claims expenses incurred by the Insured in the defense of any claim not covered by this

 coverage.” (Id. § D.I.B.).

         30.        The Policy defines “professional incident” as

         A negligent act, error or omission in the rendering of or failure to render
         professional services by the Named Insured or a person acting under the Named
         Insured’s direction, control or supervision and for whose acts, errors or omission
         the Named Insured is legally liable.

         All professional incidents that are logically or causally connected will be deemed
         one professional incident that, for the purpose of determining coverage under this
         policy, occurred at the time of the earlier act, error or omission. . . . .

 (Id., p. 14, § D.II.H.).

         31.        The Policy defines “professional services” as

         only the following services performed by the Named Insured for the Named
         Insured’s goods or products:

                    1.      Design of ingredient formulations; and

                    2.      Development of:

                            a.     Label usage and dosage information;
                            b.     Packaging descriptions of product dosage and usage
                                   information. . . . .

         Professional Services do not include any services performed by the Named Insured
         which actually or allegedly result in the failure of goods, products or services to
         conform with any statement of quality or performance made in any advertisement,
         or in the violation of any false advertising, unfair business practices, unfair trade
         practices or unfair competition law or regulation.

 (Id. § D.II.I.).




                                                     7
                                                                                   1032448\307898237.v3
Case 1:21-cv-21312-BB Document 4 Entered on FLSD Docket 04/12/2021 Page 8 of 13




         32.       Exclusion G. in the HNL Coverage Endorsement precludes any coverage otherwise

 provided through Insuring Agreement D for “[a]ny claim based upon or arising out of, directly or

 indirectly, in whole or in part, ‘bodily injury’ . . . .” (Id. § D.III.G).

         33.       Exclusion M. in the HNL Coverage Endorsement precludes any coverage otherwise

 provided through Insuring Agreement D for “[a]ny claim based upon or arising out of, in whole

 or in part, directly or indirectly, the deficiency or malfunction of any product, any process or

 technique that is not described in the definition of professional services or any product or

 equipment which is sold, manufactured or furnished by or on behalf of the Insured.” (Id., p. 15, §

 D.III.M.).

         34.       Various other terms and conditions in the Policy apply to preclude or otherwise

 limit coverage under Coverage A and Coverage D.

                    Underlying Litigation For Which VPRART Seeks Coverage

         35.       On September 25, 2019, due to injuries Erin Gilbert sustained after using a CBD

 vaping product from August 15 to August 18, 2019, the Gilbert’s commenced litigation in Florida

 state court, Broward County, to which case number 062019CA020275AXXXCE was assigned

 (the “Underlying Litigation”).

         36.       VPRART was added as a defendant to the Underlying Litigation through an

 Amended Complaint filed on March 20, 2020.

         37.       The Gilberts filed a Second Amended Complaint (attached hereto and incorporated

 by reference as Exhibit B), 1 which, upon information and belief, remains the controlling pleading

 in that matter.




 1
  The Second Amended Complaint was filed as an attachment to the Gilberts’ October 28, 2020
 Unopposed Motion For Leave to File Second Amended Complaint, which was granted January

                                                     8
                                                                                 1032448\307898237.v3
Case 1:21-cv-21312-BB Document 4 Entered on FLSD Docket 04/12/2021 Page 9 of 13




        38.     The Second Amended Complaint alleges that on our around August 15, 2019, Erin

 Gilbert purchased a “Just CBD Mango” flavored vape cartridge for the first time. (Ex. B, ¶ 37).

        39.     The Second Amended Complaint alleges that Ms. Gilbert vaped the Just CBD

 Mango product daily from August 15, 2019 through August 18, 2019. (Id. ¶ 39).

        40.     The Second Amended Complaint alleges that on August 19, 2019, Ms. Gilbert

 presented to the local emergency room with fevers, shortness of breath, cough, vomiting, and

 diarrhea. (Id. ¶ 40).

        41.     The Second Amended Complaint alleges that from August 19, 2019 through

 October 2, 2019, Ms. Gilbert was hospitalized and sustained various injuries, including

 amputations of both legs. (Id. ¶¶ 41-53).

        42.     The Second Amended Complaint alleges that Ms. Gilbert’s injuries are attributed

 to vaping the Just CBD Mango product. (Id. ¶ 54).

        43.     The Second Amended Complaint alleges that VPRART designed, manufactured,

 tested, labeled, marketed, distributed and/or placed into the stream of commerce the Just CBD

 Mango product used by Ms. Gilbert. (Id. ¶¶ 13, 174-175).

        44.     Count VIII in the Second Amended Complaint asserts a claim against VPRART for

 “Strict Liability – Design Defect.”

        45.     Count VIII in the Second Amended Complaint alleges that the Just CBD Mango

 product was defectively designed “when it left the possession of” VPRART and the alleged defects

 existed at the time VPRART placed the product into the stream of commerce. (Id. ¶¶ 178, 180).




 14, 2021. The attachment to the Gilberts’ motion in the underlying matter is attached hereto as
 Exhibit B as no separate Second Amended Complaint was filed in the underlying litigation.

                                                 9
                                                                                1032448\307898237.v3
Case 1:21-cv-21312-BB Document 4 Entered on FLSD Docket 04/12/2021 Page 10 of 13




         46.     Count XVI in the Second Amended Complaint asserts a claims against VPRART

  for “Negligent Design.”

         47.     Count XVI in the Second Amended Complaint alleges that VPRART breached its

  duty in the design of the Just CBD Mango product by, among others, failing to conduct proper

  testing “before placing Just CBD Mango into the stream of commerce.” (Id. ¶ 233.a.).

         48.     Count XXIV in the Second Amended Complaint asserts a claim against VPRART

  for “Strict Liability – Manufacturing Defect.”

         49.     Count XXIV in the Second Amended Complaint alleges that the Just CBD Mango

  product Ms. Gilbert used was “defectively manufactured when it left the possession of” VPRART

  and placed into the stream of commerce. (Id. ¶¶ 347-348).

         50.     Count XXXII in the Second Amended Complaint asserts a claim against VPRART

  for “Negligent Manufacturing.”

         51.     Count XXXII in the Second Amended Complaint alleges that VPRART breached

  its duty to manufacture the Just CBD Product Ms. Gilbert used by, among others, manufacturing

  the product with harmful toxins. (Id. ¶ 401.b.).

         52.     Count XL in the Second Amended Complaint asserts a claim against VPRART for

  “Strict Liability – Warnings Defects.”

         53.     Count XL in the Second Amended Complaint alleges that the Just CBD Mango

  product Ms. Gilbert used had “defective labeling, packaging, marketing materials, distribution

  materials and sales materials including warnings when it left possession of” VPRART. (Id. ¶ 509).

         54.     Count XLVIII in the Second Amended Complaint asserts a claim against VPRART

  for “Negligence – Warnings Defects.”




                                                     10
                                                                                 1032448\307898237.v3
Case 1:21-cv-21312-BB Document 4 Entered on FLSD Docket 04/12/2021 Page 11 of 13




         55.     Count XLVIII in the Second Amended Complaint alleges that VPRART breached

  a duty to warn in connection with the “labeling, marketing, distribution, advertising, promoting

  and/or sale” of the Just CBD Mango product used by Ms. Gilbert. (Id. ¶ 582).

         56.     With respect to each count asserted against VPRART in the Second Amended

  Complaint, the Gilberts allege that VPRART’s alleged misconduct was the direct and proximate

  result of Ms. Gilbert’s injuries.

         57.     The Gilberts seek damages as a result of Ms. Gilbert’s bodily injuries, which

  include, among other injuries and damages, leg amputations, and any resulting pain and suffering,

  disability or physical impairment, disfigurement, future expenses, hospitalization, past and future

  medical and nursing care, and past and future lost earnings.

         58.     Ms. Gilbert’s injuries, as alleged in the Second Amended Complaint, first occurred

  before the inception date and Retroactive Date in the Policy, and were in the process of occurring

  as of the inception date and Retroactive Date in the Policy.

         59.     Ms. Gilbert used the Just CBD Mango product after it was designed, manufactured,

  tested, labeled, marketed, distributed and/or placed into the stream of commerce.

         60.     To the extent any “professional incident,” as defined in the Policy, is alleged in the

  Second Amended Complaint, such incident took place, in its entirety, before the Policy’s

  November 12, 2019 Retroactive Date.

         61.     By letter dated June 30, 2020, Admiral denied coverage for the Underlying

  Litigation and advised VPRART of the reasons for the denial. (Attached hereto and incorporated

  by reference as Exhibit C).




                                                  11
                                                                                    1032448\307898237.v3
Case 1:21-cv-21312-BB Document 4 Entered on FLSD Docket 04/12/2021 Page 12 of 13




                           COUNT I: DECLARATORY JUDGMENT

         62.     Admiral realleges and incorporates by reference the allegations asserted in

  paragraphs 1-61 above as if fully set forth herein.

         63.     The Policy is a valid and enforceable contract of insurance between VPRART and

  Admiral.

         64.     Pursuant to the terms and conditions of the Policy, there is no insurance coverage

  available for the allegations asserted in the Underlying Litigation.

         65.     The bodily injuries at issue in the Underlying Litigation first occurred prior to the

  inception date of the Policy and are thus excluded under Coverage A in the Policy.

         66.     VPRART’s alleged misconduct at issue in the Underlying Litigation occurred

  before the Retroactive Date in the Policy and thus Coverage D in the Policy is not available.

         67.     Admiral is informed and believes, and thereon alleges, that VPRART contends that

  the Policy provides coverage for the injuries at issue in the Underlying Litigation.

         68.     An actual, justiciable controversy exists between the parties, warranting the entry

  of a declaratory judgment by this Court.

         WHEREFORE, Admiral requests that this Court enter judgment as follows:

         a.      A judicial declaration that the Policy does not require Admiral to indemnify

                 VPRART for damages, if any, awarded against it in the Underlying Litigation;

         b.      A judicial declaration that the Policy does not require Admiral to defend VPRART

                 in the claims asserted against it in the Underlying Litigation;

         c.      A judicial declaration that the Policy does not provide coverage for, or otherwise

                 respond to, the claims asserted against VPRART in the Underlying Litigation; and




                                                   12
                                                                                   1032448\307898237.v3
Case 1:21-cv-21312-BB Document 4 Entered on FLSD Docket 04/12/2021 Page 13 of 13




       d.     For such other relief as the Court deems just, proper, and equitable under the

              circumstances.



  Dated: April 12, 2021                          /s/Rory Eric Jurman
                                                 RORY ERIC JURMAN, ESQ.
                                                 Fla. Bar No. 194646
                                                 rjurman@hinshawlaw.com

                                                 HINSHAW & CULBERTSON LLP
                                                 One East Broward Boulevard
                                                 Suite 1010
                                                 Ft. Lauderdale, FL 33301
                                                 Telephone: 954-467-7900
                                                 Facsimile: 954-467-1024

                                                 Attorneys for Plaintiff Admiral Insurance
                                                 Company




                                            13
                                                                            1032448\307898237.v3
